 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-2(c)
 Gorski & Knowlton PC
 By: Carol L. Knowlton, Esquire
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 Attorneys for creditors, Joseph & Joan Bongiorno
 In Re:                                                      Chapter 7

 Debtor Estate of Robert Bongiorno                           Case No. 18-16626-CMG

                                                             Judge: Christine M. Gravelle
                         Debtor(s)
                                                             Hearing Date: February 19, 2019


                             NOTICE OF MOTION FOR AUTHORIZATION TO FILE
                                        LATE PROOF OF CLAIM


To:     Karen E. Bezner
        567 Park Avenue, Suite 103
        Scotch Plains, NJ 07076
        Chapter 7 Trustee

        Adam Schneider
        Law Office of Adam Schneider
        1141 Lincoln Square
        Long Branch, NJ 07740
        Attorney for Debtor

        Creditors as indicated on attached Service List

        PLEASE TAKE NOTICE that the undersigned, as counsel for creditors, Joseph and Joan Bongiorno,

shall move before the Honorable Christine M. Gravelle, U.S.B.J., United States Bankruptcy Court, 402

East State Street, Courtroom 3, Trenton, New Jersey 08608, on Tuesday, February 19, 2019, at 10:00
a.m., prevailing time, or as soon thereafter as counsel may be heard, for an Order Authorizing the filing

of a Proof of Claim out of time.

        In support of this motion, the undersigned shall rely upon the annexed certification, letter brief,

and oral argument if timely opposition is filed.

        Any opposition to this motion must be filed and served so as to be received at least seven (7)

days prior to the hearing date.


                                                         GORSKI & KNOWLTON PC
                                                         Attorneys for Creditors,
                                                         Joseph & Joan Bongiorno

                                                                 /s/ Carol L. Knowlton
Dated: January 21, 2019                                  BY:__________________________________
                                                                CAROL L. KNOWLTON, ESQUIRE
                                            SERVICE LIST




Valerie Smith, Senior Manager                        Bruce J. Duke, Esquire
c/o PRA Receivables Management, LLC                  Tabernacle Legal Group
PO Box 41021                                         PO Box 1418
Norfolk, VA 23541                                    648 Tabernaclle Road
On behalf of Synchrony Bank                          Medford, NJ 08055
                                                     Attorneys for David Heffering, Apryll Heffring, &
Ed Gezel, Agent                                      Kenneth Trevena
BK Servicing, LLC
PO Box 131265                                        Noah A. Schwartz, Esquire
Roseville, MN 55113-0011                             Davison, Eastman, Munoz, Lederman & Paone,
On behalf of Mercedes-Benz Financial Services        P.A.
USA LLC                                              100 Willow Brook Road, Suite 100
                                                     Freehold, NJ 07728
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